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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK


__________________________________________

UNITED STATES OF AMERICA,

                                 Plaintiff,

                                                            DECISION and ORDER
-vs-
                                                            10-CR-6205 CJS

BETHLYN FELIX

                           Defendant.
__________________________________________


       On October 18, 2010, this case was referred by text order of the undersigned to

Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B), ECF No.

2. On Defendant filed an omnibus pretrial motion, ECF No. 87, seeking, inter alia:

suppression of evidence of telephone communications intercepted by wire taps for failure

to meet the exhaustion requirement; and suppression of tangible evidence seized from her

residence of 1154 Finches Corners Road, Martville, New York, pursuant to a search

warrant issued by Wayne County Court Judge, Honorable John B. Nesbitt on April 12,

2010, based upon the lack of probable cause due to deficiencies in the eavesdropping

warrants. On December 27, 2011, Magistrate Judge Payson filed a Report and

Recommendation (“R & R”), ECF No. 126, recommending that the Court deny both

Defendant’s motion to suppress evidence of telephone communications, as well as

Defendant’s motion to suppress tangible evidence seized from 1154 Finches Corners



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Road. The time has passed for Defendant to file any objections to the R&R, and none have

been filed.

        Accordingly, for the reasons set forth in Magistrate Judge Payson’s Report and

Recommendation ECF # 126, Defendant’s application to suppress evidence of telephone

communications and her motion to suppress tangible evidence seized from 1154 Finches

Corners Road are denied.

        IT IS SO ORDERED.

Dated: February 21, 2012
       Rochester, New York


                                        ENTER:



                                        /s/ Charles J. Siragusa
                                        CHARLES J. SIRAGUSA
                                        United States District Judge




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